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                                                                                           Form 704-8A
                             UNITED STATES BANKRUPTCY COURT                                Rev. 1/05
                               WESTERN DISTRICT OF VIRGINIA
                                  HARRISONBURG DIVISION

In re:                                 )
                                       )
  ROY A. MCCOY                         )                      Case No. 12-50476
  WANDA L. MCCOY                       )
                                       )
               Debtor(s)               )                      Chapter           7
______________________________________ )

                            TRANSMITTAL OF UNCLAIMED FUNDS

         Comes now the undersigned trustee and reports as follows:

      1. Funds have remained unclaimed for longer than 90 days after the final dividend was
declared and distributed in the above case. The bank on which these checks are drawn has been
instructed to stop payment on said checks.

       2. The trustee's check1 payable to the Clerk, U.S. Bankruptcy Court, for the unclaimed funds
is attached hereto with the request that such funds be deposited in the U.S. Treasury, or the local
Registry Account.

         3. The trustee has indicated the name, address, and amount due each creditor on the attached.

Date: July 29, 2013                                           /s/ W. Stephen Scott
                                                              W. Stephen Scott, Trustee
                                                              P. O. Box 2737; 418 E. Water Street
                                                              Charlottesville, VA 22902
                                                              434-296-2161




          1
          A separate check payable to the Clerk must be issued for unclaimed dividends less than $25.00
per creditor, which is payable directly to the U.S. Treasury. For those over $25.00 per creditor, a separate
check is required which is deposited to the local Registry Account.
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Bank of America
Bankruptcy NC4-105-02-99
P. O. Box 26012
Greensboro, NC 27410
Claim #8
Check 10006 uncashed in amount of $69,311.04
